                           UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW MEXICO

In re:

SEAN HUNTLEY STARKWEATHER,                                         No. 20-10717-j7
FAITH LYNN STARKWEATHER,

                Debtors.


                       CERTIFICATE OF SERVICE OF SUBPOENAS

         Creditor, New Mexico Bank & Trust (“NMBT”), by its undersigned attorneys, certifies

that it caused a Subpoena to Produce Documents issued on 6/10/2020 to Sandia Laboratory

Federal Credit Union, and a Subpoena to Produce Documents issued on 6/10/2020 to Sandia

Area Federal Credit Union, to be served by electronic mail on June 10, 2020, on:

         P. Diane Webb, Esq.                 diane@diwebbnm.com
         Philip Montoya, Esq.                pmontoya@swcp.com

                                                     Respectfully submitted,

                                                     JURGENS & WITH, P.A.

                                                     /s/ James Jurgens
                                                     James R. Jurgens
                                                     Attorneys for NMBT
                                                     100 La Salle Circle, Suite A
                                                     Santa Fe, New Mexico 87505
                                                     (505) 984-2020; Fax (505) 982-6417
                                                     jrj@j-wlaw.com

                                    CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing was electronically mailed by the Courts CM-ECF
system to:

Diane Webb, Esq., Attorney for debtors
Philip Montoya, Esq., Trustee

on June 10, 2020.                                    /s/ James Jurgens




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